                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                                 NO: 5:05CR235

UNITED STATES OF AMERICA,           )
          Plaintiff,                )
                                    )
vs.                                 )                                ORDER
                                    )
ROBERT IVAN HORTON,                 )
            Defendant.              )
___________________________________ )


       THIS MATTER IS BEFORE THE COURT upon the receipt of a handwritten document

form the Defendant, Robert Ivan Horton, dated September 25, 2006. In the document, among other

things, the Defendant appears to request appointment of a private investigator. Court records reflect

that Mr. Horton is represented by appointed counsel, Samuel Bayness Winthrop. It is the practice

of the Court, when a defendant is represented by counsel, to rule on motions filed only by counsel

of record. Therefore, if Mr. Horton has any matters he wishes this Court to consider, they must be

submitted through his attorney.

       IT IS, THEREFORE, ORDERED that Mr. Horton’s request for private investigator is

DENIED, without prejudice to Mr. Horton’s right to re-file the motion, if appropriate, through his

attorney.




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       The Clerk of Court is directed to send a copy of the motion to Mr. Winthrop along with his

copy of this Order.




                                               Signed: October 3, 2006




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